      Case 19-90311          Doc 4    Filed 04/04/19 Entered 04/04/19 16:00:02                   Desc Financial
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Form fmgtreq

                                    UNITED STATES BANKRUPTCY COURT

                                               Central District of Illinois

                                                  203 U.S. Courthouse
                                                   201 S. Vine Street
                                                   Urbana, IL 61802

In Re: John Dewilder Gibson                                  Case No.: 19−90311
Debtor
                                                             Chapter: 7


 NOTICE RE: FINANCIAL MANAGEMENT/DEBTOR EDUCATION REQUIREMENT


Notice is hereby provided:


Pursuant to the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005, every individual debtor (both
debtors in a joint case) filing under Chapters 7 and 13 must complete an approved financial management course and
file certification of completion with the court in order to receive a discharge.

The required certification consists of Official Form 423 Certification About a Financial Management Course. For
cases assigned to Judge Perkins, the requirement may be met by filing either Official Form 423 Certification About a
Financial Management Course or a certificate of completion from the personal financial management provider (for
each debtor in a joint case).

A list of approved courses may be found on the court webpage at www.ilcb.uscourts.gov.

For Chapter 7 cases, the required certification of completion must be filed prior to the deadline to file an objection to
discharge. This date can be found on the Notice of Meeting of Creditors (341 Notice).

For Chapter 13 cases, the required certification of completion must be filed prior to the final Chapter 13 plan
payment.

Dated: 4/4/19


                                                              /S/ Adrienne D. Atkins
                                                             Clerk, U.S. Bankruptcy Court



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